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                   IN THE UNITED STATES DISTRICT COURT
                                                                          FILED
                       FOR THE DISTRICT OF MONTANA        MAY - B 2017
                             BILLINGS DIVISION         Cle~. u.s. o· .
                                                         District Of ~trict Court
                                                                             Bitting:ntana

UNITED STATES OF AMERICA,                          CR 16-107-BLG-SPW-7

                        Plaintiff,
                                                ORDER SETTING
           vs.                                  SENTENCING

CHRISTINA KAMRAN-KOHNJANI,

                        Defendant.

      Defendant entered her plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on April 20, 2017. United States Magistrate Judge Timothy

J. Cavan entered Findings and Recommendation in this matter on April 20, 2017

(Doc. 194). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations (Doc. 194) are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Wednesday, August 30, 2017 at 9:30 a.m., in

the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.

      2.         The United States Probation Office shall conduct a presentence

investigation and prepare a presentence report. Fed. R. Crim. P. 32(c), (d); 18

U.S.C. § 3552(a).
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        3.   The probation officer shall disclose the completed report, except for

recommendations of the probation officer, to Defendant, counsel for Defendant,

and counsel for the government on or before July 11, 2017. The probation officer

shall not disclose any recommendation made or to be made to the Court.

        4.   If restitution is mandatory, the probation officer shall discuss a

payment plan with Defendant and shall make recommendations to the Court

concerning interest and a payment schedule.

        5.   Counsel shall attempt in good faith to resolve disputes over any

material in the presentence report. Unresolved objections to be relied upon at

sentencing shall be presented to the probation officer on or before July 25, 2017.

U.S.S.G. § 6Al .2. Any unresolved objections are expected to be included in

the pre-sentence report, not in a sentencing memorandum.

        6.   The presentence report, in final form, including any unresolved

objections, shall be delivered to the Court and the parties on or before August 8,

2017.

        7.   Sentencing memoranda and supporting documents addressing all

relevant sentencing issues shall be filed on or before August 15, 2017. Absent

good cause shown, sentencing memoranda and supporting documents filed after

August 15, 2017 will not be considered in addressing sentencing issues. Failure to




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timely file sentencing memoranda may result in imposition of sanctions against

counsel.

      8.      Responses to sentencing memoranda shall be filed on or before

August 22, 2017.

      9.      Reply briefs will not be accepted for filing in sentencing matters.

      10.     The Court will resolve objections included in the Addendum to the

presentence report at the sentencing hearing in accordance with U.S.S.G. § 6Al.3.

      11.     All parties that intend to have witnesses testify at sentencing shall give

notice to this Court ten (10) days prior to the sentencing date.

      12.     Defendant is to remain in the custody of U.S. Marshals pending

sentencing.

      The clerk shall promptly notify counsel and the probation office of the entry

of this Order.
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      DATED this      g day of May, 20~
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                                         SUSANP. WATTERS
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                                         United States District Judge




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